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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION



    MARLON SANTIAGO,

           Petitioner,

    v.                                                       Case No. 8:05-CV-1150-T-30MSS
                                                                      8:03-CR-447-T-30MSS
    UNITED STATES OF AMERICA,

         Respondent.
                                           /

                                               ORDER

           This cause comes before the Court for consideration of Petitioner's motion to vacate,

    set aside, or correct sentence pursuant to 28 U.S.C. § 2255 filed June 14, 2005 (CV Dkt.

    1). Section 2255 provides, in pertinent part, that if the "motion and the files and records of

    the case conclusively show that the prisoner is entitled to no relief," the motion is properly

    denied without a response from the Government. 28 U.S.C. § 2255. See also United States

    v. Deal, 678 F.2d 1062, 1065 (11th Cir. 1982). The Court concludes, for reasons set forth

    below, that Petitioner’s § 2255 motion is subject to summary dismissal.

                                           Background

           On December 3, 2003, Petitioner was arraigned on a grand jury indictment charging

    him with one count of conspiring to possess with the intent to distribute 50 grams or more

    of a mixture or substance containing a detectable amount of cocaine base, in violation of

    21 U.S.C. § 846 and 841(b)(1)(A)(iii) (CR Dkt. 14). Represented by court-appointed

    counsel (CR Dkt. 18), Petitioner pled guilty as charged on March 18, 2004, pursuant to a

    negotiated plea agreement (CR Dkt. 91).
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           At sentencing, the Court granted the Government’s motion for a two-level downward

    departure in Petitioner’s base offense level pursuant to U.S.S.G. § 5K1.1 in recognition of

    Petitioner’s substantial assistance. Petitioner’s base offense level was also adjusted

    downward two levels pursuant to U.S.S.G. § 3E1.1(a) for acceptance of responsibility for

    his criminal conduct and one level pursuant to U.S.S.G. §3E1.1(b) for timely notifying the

    Government of his intent to enter a plea. For sentencing purposes, Petitioner fell within

    criminal history category III based on three prior drug convictions and the fact that when

    the offense of conviction occurred, he was on probation for a drug-related offense.

    Petitioner was sentenced on June 25, 2004, to serve a term of 168 months in prison, to be

    followed by a 60-month term of supervised release (CR Dkt. 124). Judgment of conviction

    was entered on June 28, 2004 (CR Dkt. 125). Petitioner did not file an appeal.

           On November 5, 2004, the Government requested that Petitioner receive a further

    two level downward adjustment to his base offense level pursuant to Fed. R. Crim. P. 35

    in recognition of substantial assistance rendered after his sentence was imposed (CR Dkt.

    151). The Government’s motion was granted (CR Dkt. 156), and an amended judgment

    was entered on November 16, 2004, reducing Petitioner’s sentence to a term of 140

    months in prison (CR Dkt. 157).

           Petitioner timely filed a § 2255 motion on June 14, 2005 (CV Dkt. 1). For reasons

    discussed below, the Court concludes that Petitioner has not demonstrated that he meets

    the criteria for relief under § 2255.




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                                        Standard of Review

           Title 28 U.S.C. § 2255 sets forth the framework for reviewing a federal prisoner's

    sentence for any of the following four reasons: (1) the sentence was imposed in violation

    of the Constitution of the United States; (2) the court was without jurisdiction to impose such

    a sentence; (3) the sentence was in excess of the maximum authorized by law; or (4) the

    sentence is otherwise subject to collateral attack. 28 U.S.C. § 2255. Case law establishes

    that only constitutional claims, jurisdictional claims, and claims of error so fundamental as

    to have resulted in a complete miscarriage of justice are cognizable on collateral attack.

    See United States v. Addonizio, 442 U.S. 178, 184-86 (1979); Hill v. United States, 368

    U.S. 424, 428 (1962); Richards v. United States, 837 F.2d 965, 966 (11th Cir. 1988).

                                             Discussion

           The crux of Petitioner’s complaint is that the sentence he received is greater than

    he anticipated when he entered his plea. Petitioner does not challenge the validity of the

    plea agreement. To the contrary, Petitioner argues for strict enforcement of the terms of the

    agreement, asserting that the Court erred in calculating his sentence.

           Since the conspiracy involved a quantity of drugs in excess of 1.5 kilograms,

    Petitioner was assigned a base offense level of 38 pursuant to U.S.S.G. § 2D1.1(c)(4) (PSI

    ¶ 69). As discussed above, his base offense level was then reduced five levels and he was

    sentenced to a term of 168 months, well below the statutory maximum of life imprisonment.

    See 21 U.S.C. §§ 846 and 841(b)(1)(A)(iii). See United States v. Gerrow, 232 F.3d 831

    (11th Cir. 2000) (there is no error, plain or otherwise, under Apprendi where the term of

    imprisonment is within the statutory maximum set forth in § 841(b)(1)(C) for an offense

    without regard to drug quantity).



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               Petitioner contends that because the drug quantity was not admitted to by him or

    found by a jury beyond a reasonable doubt, he could only be held accountable for a

    quantity of 50 grams of cocaine base as set out in the plea agreement. Petitioner further

    argues that because the prior convictions used in calculating his criminal history category

    were not admitted to by him or found by a jury beyond a reasonable doubt, they could not

    be considered in calculating his sentence. Petitioner claims are premised on the Supreme

    Court’s holdings in Apprendi,1 Blakely2 and Booker3.

               The question of whether Blakely applies to the federal sentencing guidelines was

    decided in the affirmative when the Supreme Court entered its decision in United States v.

    Booker. 543 U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005). While the Supreme Court’s

    holding in Booker applies to all cases on direct review, id. (citing Griffith v. Kentucky, 479

    U.S. 314, 328 (1987) (“[A] new rule for the conduct of criminal prosecutions is to be applied

    retroactively to all cases . . . pending on direct review or not yet final, with no exception for

    cases in which the new rule constitutes a ‘clear break’ with the past”)), nothing in Booker

    makes the holding in Blakely retroactive. Booker does not, therefore, provide support for

    Petitioner’s position.

               Petitioner’s assertion that having his sentence enhanced by the application of

    U.S.S.G. § 4B1.2(1) was a violation of his plea agreement is likewise without merit.



           1
            Apprendi v. New Jersey, 530 U.S. 466, 490 (2000) (holding that "[o]ther than the fact of a prior
   conviction, any fact that increases the penalty for a crime beyond the prescribed statutory maximum must be
   submitted to a jury, and proved beyond a reasonable doubt.”).
           2
             Blakely v. Washington, 542 U.S. 196, 124 S.Ct. 2531, 159 L.Ed.2d 403 (Jun. 24, 2004) (applying the
   rule of Apprendi, the court held that the relevant "statutory maximum" is not the maximum sentence a judge may
   impose after finding additional facts, but the maximum he may impose without any additional findings).
               3
            United States v. Booker, 543 U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005) (finding that the
    mandatory nature of the federal sentencing guidelines rendered them incompatible with the Sixth Amendment's
    guarantee to the right to a jury trial).

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    Because Petitioner was sentenced under the sentencing guidelines, as specifically set out

    in the plea agreement, he cannot now successfully assert that his sentencing violated that

    agreement. Classification as a career offender for the purposes of enhancement under the

    sentencing guidelines is separate and distinct from a statutory sentence enhancement

    imposed pursuant to 21 U.S.C. § 841. See United States v. Frisby, 258 F.3d 46, 51 (1st

    Cir. 2001). It is well settled that a district court does not err when it considers prior

    convictions in sentencing a defendant under the Sentencing Guidelines. See United States

    v. Shelton, 400 F.3d 1325, 1329 (11th Cir. 2005). Moreover, the holdings in Blakely and

    Booker do not apply to the use of prior convictions to enhance a defendant's sentence.

    United States v. Orduno-Mireles, 405 F.3d 960, 962 (11th Cir. 2005).

           Petitioner further asserts that he was sentenced in violation of Fed. R. Crim. P.

    23(a), which provides, in relevant part, that “if the defendant is entitled to a jury trial, the trial

    must be by jury unless: [1] the defendant waives a jury trial in writing; [2] the Government

    consents; and [3] the Court approves.” Petitioner executed a plea agreement which

    provides, in pertinent part, that he understood that he “has the right to plead not guilty or

    to persist in that plea if it has already been made, and that defendant has the right to be

    tried by a jury with the assistance of counsel, the right to confront and cross-examine the

    witnesses against [him], the right against compulsory self-incrimination, and the right to

    compulsory process for the attendance of witnesses to testify in [his] defense, but, by

    pleading guilty, [Petitioner] waives or gives up those rights and there will be no trial” (CR

    Dkt. 90 at 13-14). Both Petitioner and the Government executed the written plea

    agreement, see id. at 16, and this Court approved the plea agreement based upon the

    recommendation of the magistrate judge made after having conducted a hearing consistent



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    with the requirements of Fed. R. Crim. P. 11 (CR Dkts. 94 & 101). Thus, Petitioner’s

    assertion that his sentence violated Fed. R. Crim. P. 23(a) lacks merit.

            As to Petitioner’s argument that trial counsel was ineffective for failing to oppose the

    probation officer’s calculation of his base offense level based on drug quantity and the use

    of his prior convictions in calculating his sentence, the Eleventh Circuit has repeatedly held

    that Apprendi does not apply to Sentencing Guidelines facts in general and relevant

    conduct in specific.4 United States v. Le, 256 F.3d 1229, 1240 (11th Cir. 2001) (Sentencing

    Guidelines are not subject to Apprendi ); United States v. McClain, 252 F.3d 1279, 1284

    n. 12 (11th Cir. 2001) (Apprendi does not apply to relevant conduct under the Sentencing

    Guidelines); United States v. Harris, 244 F.3d 828 (11th Cir. 2001) (Apprendi does not

    apply to drug quantities outside scope of indictment considered as relevant conduct);

    United States v. Nealy, 232 F.3d 825, 829 n. 2 (11th Cir. 2000) (Apprendi does not apply

    to firearm enhancement under Sentencing Guidelines). Thus, when Petitioner was

    sentenced, there was no basis in law in this circuit for arguing that Apprendi applied to

    judge-made determinations pursuant to the Sentencing Guidelines.

            To the extent that Petitioner asserts a claim of ineffective assistance of counsel

    based on a failure to raise a Blakely/Booker argument, trial counsel is not ineffective for

    failing to predict a change in the law. See United States v. Ardley, 273 F.3d 991, 993 (11th

    Cir. 2001) ("In this circuit, we have a wall of binding precedent that shuts out any contention


            4
              Before Blakely was decided, every federal court of appeals had held that Apprendi did not apply to
    guideline calculations made within the statutory maximum. See, e.g., United States v. Hughes, 369 F.3d 941,
    947 (6th Cir. 2004); United States v. Francis, 367 F.3d 805, 820 (8th Cir. 2004); United States v. Jardine, 364
    F.3d 1200, 1209 (10th Cir. 2004); United States v. Alvarez, 358 F.3d 1194, 1211-12 (9th Cir. 2004); United
    States v. Phillips, 349 F.3d 138, 143 (3d Cir. 2003): United States v. Patterson, 348 F.3d 218, 228-29 (7th Cir.
    2003); United States v. Randle, 304 F.3d 373, 378 (5th Cir. 2002); United States v. Sanchez, 269 F.3d 1250,
    1268 (11th Cir. 2001); United States v. Webb, 255 F.3d 890, 898 (D.C.Cir. 2001); United States v. Angle, 254
    F.3d 514, 518 (4th Cir. 2001); United States v. Caba, 241 F.3d 98, 100 (1st Cir. 2001); United States v.
    Garcia, 240 F.3d 180, 183-84 (2d Cir. 2001).

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    that an attorney's failure to anticipate a change in the law constitutes ineffective assistance

    of counsel.") (citing Spaziano v. Singletary, 36 F.3d 1028, 1039 (11th Cir. 1994) ("We have

    held many times that '[r]easonably effective representation cannot and does not include a

    requirement to make arguments based on predictions of how the law may develop." ')).

             The Court finds that Petitioner has not established that the performance of trial

    counsel in this regard was outside "the wide range of professionally competent assistance."

    Van Poyck v. Florida Dep't of Corrs., 290 F.3d 1318, 1322-23 (11th Cir. 2002) (quoting

    Strickland v. Washington, 466 U.S. 668 (1984)).

                                            Conclusion

             Having reviewed the record, applicable statutes, and controlling case law in this

    circuit, the Court finds that Petitioner has not met the criteria for relief under § 2255.

             ACCORDINGLY, the Court ORDERS that:

             1.    Petitioner’s amended motion to vacate is DENIED (CV Dkt. 1).

             2.    The Clerk is instructed to enter judgment against Petitioner, terminate any

                   pending motions, and close this case.

             DONE and ORDERED in Tampa, Florida on May 8, 2006.




    Copy furnished to:
    All Parties of Record

    SA/jsh




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